Case 25-90138 Document 25-6 Filed in TXSB on 06/02/25 Page 1 of 4




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                                           11/23/16
                                              on 06/02/25
                                                    in TXSDPage
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                                                                2 of14of 3
                                                                 United States District Court
                                                                   Southern District of Texas

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                                                                  November 23, 2016
                                                                   David J. Bradley, Clerk
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                                                                3 of24of 3
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     4:15-cv-01645
        25-90138 Document
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                                                    in TXSDPage
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                                                                4 of34of 3
